Case 1:09-cv-01169-LTB-CBS Document 46 Filed 01/14/11 USDC Colorado Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-01169-LTB-CBS

SOLOMON BEN-TOV COHEN, umten delet ED
Plaintiff, DENVER CoLOMan oe
Vv.
JAN 14 203]
JOHN P. LONGSHORE, and
CAROLINE VAN BARNEVELDT, Mail Clerk, El Paso County ShonPeO Ree: LANGHAM
Defendants. CLERK

 

 

ORDER GRANTING SERVICE BY UNITED STATES MARSHAL

 

Magistrate Judge Craig B. Shaffer

This civil action is before the court for service of the Amended Complaint (Doc. #
22). Pursuant to the Order of Reference dated January 12, 2011 (Doc. # 43), this case
was referred to the Magistrate Judge. On May 22, 2009, the court granted Plaintiff
leave to proceed in forma pauperis pursuant to 28 U.S.C. § 1915. (See doc. #2). On
December 17, 2011, the case was reinstated pursuant to the mandate of the United
States Court of Appeals for the Tenth Circuit filed on December 13, 2010. (See Docs.
# 39 and # 38). Accordingly,

IT IS ORDERED that, as appropriate, the Clerk of the Court shall attempt to
obtain a waiver of service from the Defendants. If the Clerk is unable to do so, the
United States Marshal shall serve a copy of the Amended Complaint (doc. # 22) and
summons upon the Defendants. If appropriate, the Marshal shall first attempt to obtain
a waiver of service of these documents pursuant to Fed. R. Civ. P. 4(d). All costs of
service shall be advanced by the United States. It is

FURTHER ORDERED that after service of process, Defendants shall respond to

the Amended Complaint as provided for in the Federal Rules of Civil Procedure.
Case 1:09-cv-01169-LTB-CBS Document 46 Filed 01/14/11 USDC Colorado Page 2 of 3

Dated at Denver, Colorado this 14th day of January, 2011.
BY THE COURT:

s/Craig B. Shaffer
United States Magistrate Judge
Case 1:09-cv-01169-LTB-CBS Document 46 Filed 01/14/11 USDC Colorado Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING
Civil Action No. 09-cv-01169-LTB-CBS

Solomon Ben-Tov Cohen
Reg. No. 77 309 675
GEO/ICE Processing Center
3130 North Oakland Street
Aurora, CO 80010

US Marshal Service
Service Clerk
Service forms for: Caroline Van Barneveldt

John Longshore, District Director - CERTIFIED
US Department of Homeland Security/ICE
12445 E. Caley Street

Centennial, CO 80111

United States Attorney General - CERTIFIED
Room 5111, Main Justice Bldg.

10" and Constitution, N.W.

Washington, D.C. 20530

United States Attorney
District of Colorado
DELIVERED ELECTRONICALLY

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals, and the following forms to the United States Marshal Service for service of
process on Caroline Van Barneveldt; to John Longshore; to The United States Attorney
General; and to the United States Attorney's Office: AMENDED COMPLAINT FILED
12/10/09, SUMMONS, AND NOTICE OF AVAILABILITY OF MAGISTRATE JUDGE on

fly.

aos.

  
 

GRE LANGHAM, CLERK

(| Deputy Clerk

By:

 
